                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


SYMBOLOGY INNOVATIONS, LLC,                    )
                                               )
                       Plaintiff,              )
                                               )   C.A. No. 2:19-cv-00853-LA
       v.                                      )
                                               )
DRAMM INTERNATIONAL, INC.,                     )
                                               )
                       Defendant.              )

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC, pursuant to Rule 41(a) of the Federal Rules of

Civil Procedure, herby provides notice that it dismisses WITH PREJUDICE all claims in this

cause of action against Defendant Dramm International, Inc. Each party shall bear its own

costs, expenses, and attorneys’ fees.


Dated: October 29, 2019                            Respectfully submitted,


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                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


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